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                       UNITED STATES COURT OF APPEALS
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
      Plaintiffs-Appellees,         )               Case No. 25-5098
                                    )
              v.                    )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
      Defendants-Appellants         )
___________________________________ )


          CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

        Pursuant to D.C. Circuit Rule 28(a)(1) and Federal Rule of Appellate Procedure 26.1, the

undersigned counsel certifies as follows:

       A. Parties and Amici

       Appellants are United States Department of State; United States Agency for International

Development; Marco Rubio, Secretary of State and Acting Administrator for the United States

Agency for International Development; Office of Management and Budget; Russell Vought,

Director, Office of Management and Budget; and, Donald Trump.

       Appellees are AIDS Vaccine Advocacy Coalition and Journalism Development Network,

Inc. AIDS Vaccine Advocacy Coalition is a 501(c)(3) non-profit corporation that works to hasten

the end of the global HIV/AIDS epidemic by accelerating development and delivery of HIV

prevention options. Plaintiff Journalism Development Network, Inc., is a 501(c)(3) non-profit

corporation that supports a global consortium of journalists from more than 70 non-profit

investigative centers and regional news organizations across the world.
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        Pursuant to Federal Rule of Appellate Procedure 26.1, Appellees state that neither of them

has a parent, subsidiary, or affiliate that has issued shares or debt securities to the public.

        The Constitutional Accountability Center was amicus in district court.

        There are no intervenors or amici in this Court as of this filing.

        B. Rulings Under Review

        The ruling under review is a Memorandum Opinion and Order (Dkt. No. 60) entered by

the Honorable Amir H. Ali, on March 10, 2025, granting in part plaintiffs’ motions for a

preliminary injunction. See AIDS Vaccine Advoc. Coal. v. United States Dep’t of State, No. 25-cv-

400, 2025 WL 752378 (D.D.C. Mar. 10, 2025).

        C. Related Cases

        Appellants previously appealed an earlier of the district court in this case. That appeal was

consolidated with the appeal in Global Health Council v. Donald J. Trump, No. 25-cv-402

(D.D.C.). Both appeals were dismissed by this Court. See Order, AIDS Vaccine Advocacy Coal. v.

U.S. Dep’t of State, Nos. 25-5046, 25-5047 (D.C. Cir. Feb. 26, 2025). Appellants then requested

emergency relief in the Supreme Court, which denied that request. See Department of State v.

AIDS Vaccine Advocacy Coal., 145 S. Ct. 753 (2025),

        This Court has consolidated this appeal with the appeal in Global Health Council v. Donald

J. Trump, No. 25- 5097 (D.C. Cir.).

        With the exception of the appeals described above, these cases have not otherwise been in

any court other than the district court from which they originated.

        The undersigned counsel is unaware of any related cases currently pending in this Court or

any other court.




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Date: May 6, 2025               Respectfully submitted,

                                /s/ Lauren E. Bateman
                                Lauren E. Bateman
                                Allison M. Zieve
                                Nicolas A, Sansone
                                Public Citizen Litigation Group
                                1200 20th Street NW
                                Washington, DC 20009
                                (202) 588-7739
                                lbateman@citizen.org

                                Counsel for Appellees




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2026, I caused the foregoing document to be electronically

filed using the Court’s CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.


Dated: May 6, 2025


                                                    /s/ Lauren E. Bateman
                                                    Lauren E. Bateman




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